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                 4                                   UNITED STATES DISTRICT COURT
                 5                                           DISTRICT OF NEVADA
                 6                                                       ***
                 7       UNITED STATES OF AMERICA,                               Case No. 2:13-CR-83 JCM (CWH)
                 8                                               Plaintiff(s),                      ORDER
                 9              v.
               10        DERRICK PHELPS, et al.,
               11                                             Defendant(s).
               12
               13              Presently before the court is the United States’s motion to amend the judgment against

               14       defendant Tai Keyster in case no. 2:13-cr-00083-JCM-CWH. (ECF No. 266). Regarding the
                        restitution list, (ECF No. 264) the government indicates that “there was a mathematical error which
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                        caused a discrepancy between the amount each recipient is owed and the full restitution.” (Id.).
               16
                        Therefore, the government requests that this court alter the total restitution amount from
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                        $115,214.40 to $115,214.38. (Id.).
               18
                               Federal Rule of Criminal Procedure 36 states: “After giving any notice it considers
               19       appropriate, the court may at any time correct a clerical error in a judgment, order, or other part of
               20       the record, or correct an error in the record arising from oversight or omission.” See United States
               21       v. Penna, 319 F.3d 509, 512–13 (9th Cir. 2003). This court agrees with the government that this
               22       is a clerical error and will therefore exercise its discretion to grant the present motion.

               23              Accordingly,
                               IT IS HEREBY ORDERED, ADJUDGED, AND DECREED that the United States’s
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                        motion (ECF No. 266) be, and the same hereby is, GRANTED.
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James C. Mahan
U.S. District Judge
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                1            IT IS FURTHER ORDERED that the government’s revised restitution list (ECF No. 266
                2     at 19–21) be, and the same hereby is, affixed to the judgment.

                3            DATED December 28, 2016.

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                5                                                  UNITED STATES DISTRICT JUDGE
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James C. Mahan
U.S. District Judge                                                 -2-
